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                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                   Plaintiff,
       vs.                                 Case No. 11-40044-01/16-RDR

DEMETRIO QUESADA, et al.,

                   Defendants.


                                  O R D E R

       This case is before the court upon three motions to extend

time to file pretrial motions.          Doc. Nos. 172, 183 and 188.       These

motions are unopposed by the government.

       There are fifteen defendants in this case.           They are charged

with    conspiracy   to    distribute    methamphetamine.       The   original

deadline for filing pretrial motions was on or about June 30, 2011

for most of the defendants in this case.                 That deadline was

extended to September 16, 2011 in an order which designated this as

a complex case and noted that:

       this case is the result of investigations involving more
       than 50 other defendants.     The investigations spanned
       approximately 19 months and involved multiple wiretap
       orders and other orders for the collection of electronic
       information or communication. There were approximately
       30 search warrants executed in connection with these
       investigations.    The government estimates that the
       discovery to be disclosed in this case will exceed 50,000
       pages and involve hundreds of hours of audio recordings.

Doc. No. 59 at p. 3.        The court also stated that as of that date,

June 28, 2011, the discovery had not yet been shared with counsel.
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The order further noted that some defendants had not yet appeared

in this court on the charges in this case.

     On September 20, 2011, the court granted a second extension of

time to file pretrial motions.             Doc. No. 149.     The deadline was

moved to October 21, 2011.          This order was issued in response to

motions from eight defendants.         The motions noted that discovery

was voluminous and that some additional discovery had only recently

been served upon counsel.       Also, some defendants had only recently

appeared in Kansas to defend the charges against them.

     The following defendants have filed motions to extend time

past October 21, 2011 to file pretrial motions:              Demetrio Quesada

(Doc. No. 172); Alberto Verasa-Barron (Doc. No. 188); and Silvestre

Palomino-Tinoco     (Doc.     No.   183).      No   objections      from   other

defendants have been filed to these motions.             Each of the motions

asks for a 60-day extension of time.

     Defendant Quesada’s motion states that more time is needed to

prepare because counsel would soon receive 15 to 20 thousand pages

of additional discovery.1       Defendant Verasa-Barron’s motion states

that this defendant made his first appearance in Kansas on August

25, 2011 and that, approximately ten days ago, his counsel received

additional discovery from the government which was supposed to be

relevant to the case against Verasa-Barron.                His counsel states

that he needs additional time for preparation. Defendant Palomino-


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         Defendant Quesada’s motion was filed on October 7, 2011.

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Tinoco also made his first appearance in Kansas on August 25, 2011.

His counsel states that he needs more time to review discovery and

visit with his client.           The motion notes that his counsel must

travel    from    Wichita   to    Leavenworth,       Kansas    to     see   defendant

Palomino-Tinoco.

        The court has previously reviewed the factors the court should

consider before determining whether an extension of time is in the

interests of justice for the purposes of the Speedy Trial Act, 18

U.S.C. § 3161(h)(7).        Doc. No. 59 at pp. 2-4.           Upon careful review

of these factors and the motions themselves, the court has decided

to extend the pretrial motions deadline for all defendants to

December 20, 2011.      This is a complex case with a very large amount

of discovery which has recently been supplemented.                        There are a

large    number    of   defendants     in    this    matter,     and      two   of   the

defendants who have asked for additional time have had a relatively

late start in the case.          The court is convinced that more time is

needed    for    counsel    to   be   adequately      prepared       to   effectively

represent their clients.

        The government shall have time until January 3, 2012 to

respond to defendants’ motions.             The court shall conduct a hearing

upon the motions on January 12, 2012 at 9:30 a.m.                    The court finds

that this extension of time is in the interests of justice pursuant

to 18 U.S.C. § 3161(h)(7).

        IT IS THEREFORE ORDERED that defendants’ motions for extension


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of time (Doc. Nos. 172, 183, and 188) are granted and this case

shall proceed upon the above-announced schedule.             The continuance

granted by this motion shall be considered excludable time for the

purposes of the Speedy Trial Act.

     IT IS SO ORDERED.

     Dated this 26th day of October, 2011 at Topeka, Kansas.


                                 s/Richard D. Rogers
                                 United States District Judge




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